 

CaSe 8-13-08129-|38 DOC 81-1 Filed 05/07/18 Entel’ed 05/07/18 14211:03

‘“ ’ FORDHAM

U N I V E R S I '-l` Y N¢w York C¢'ty’s fault Un;'ser.n'£ji l

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Collsge of Bscinen Admixilscraticc

To thm lt May Conoem:

l am writing in the strongest possible support cf Ms. Natalie .lean»Baptists’s
application to law schccl. She was ray student, and foilowing that l have acted
as her mentor for the last three years She has consistently stood out from her
peers as competitive to an unusual degree Any piece of paperwork for
example, which Nataiie produces must be flawless. l have seen her intervene in
a discussion which held the potential tc bedivisive, and provide answers mich
satislied all parties She can grasp the line of unfoiding arguments more quickly
than one would think possiblel She hasa.keena*rdbaiancedsense cfjustice.

At this point l will supply some missing infom'ration, hcwever, about her GPA. lt
is lower than most law school require Ms. Jean.-Baptiste has sickle cei| anemia,
and she was, for example, hospitalized for an entire month when she was in my
olass. For that reason she received a "B" for my course, although it was
emphatically obvious that she had done A level work the rest cf the semester.
She simply had missed too many classes tn a medical sense, lwas not avers
that sickle cell anemia has such an impact on an academic mrser. requiring
hospitalization so frequently Ms. Jean-Baptiste is the only studentl have waived
the regulation_. which states that six absences result in a failure l have been
teaching at Fcrdham since tSRZ. Fcr Natalie's first years at Fordham she was iii
quite frequently l am certain that my class is not the only class in which her
GPA has suffered the consequences

There isa second highly unusual consideration in tha case of Ms. Jean»Baptist
During the semester she was enrolwd in my ccurse. she was a victim of either
racial bias or mishandling by the NYPD. She came to me for advice and ll
sicl<ened by the story of what l'iappenedl ccutd.in all conscience only advise her
to pursue legal recourse Natalle believed in our system cf justice enough to
follow channds of legal recourse, and she was entirely vindicated This event
in her life lasted a long time, it absorbed her time, and it created a high level of
personal stress This too l believe is reflected in her GPA.

Ms. Jean Baptiste is one of the people we went in our legal system, not as a

victim but as a lawyer. She richly deserves this place. l have high hopes her
health will retain its current stable positionl Beyond that she is extraordinarily

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intelligentI stunningly quick, and with unassailable sense of justice Sometimes,
rare|y. the “facts" don’t show the whole person l am relieved she happened to

ask me to write this recommendation for l had highly speciiic and, l think, quite
telling things to say.

Of all the students l have recommended in the last decade, l believe in this one
perhaps the most of a|i.

Please accept her.

cM/'Z/

Sineerely, Kete Combellick, Ph.D.

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